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                                                                         VANESSA L. l'.RMST:IONG, CLERK
                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY                         FEB 0 8 2018
                                 LOUISVILLE DIVISION
                                                                           U.S. DIST!\:U COU1T
                                                                          WEST'N. DIST. 1\CinUCKY
UNITED STATES OF AMERICA,                                                                 Plaintiff,

v.                                                           Criminal Action No. 3:17-cr-002-DJH

STEPHEN KYLE GOODLETT,                                                                   Defendant.

                                           * * * * *
               ACKNOWLEDGMENT OF WAIVER OF APPEAL RIGHTS



       I hereby acknowledge that as a part of my plea agreement with the United States, I waived

the right to appeal the sentence I just received from the Court.



       February 8, 2018
           Date
                                                   ~~IJL ,            -w £
                                                             Defendarit's Signature
